Case: 3:22-cv-01482-JGC Doc #:1 Filed: 08/18/22 1o0f 4. PagelD#: 1

IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRISCT OF OHIO WESTERN DIVISION

FILED

3:22 CV 1482 |

Alfred Johnson Sr. : 42 U.S.C. 1983
Plaintiff, : Civil Lawsuit
1985(3)
™ 1988 MAG JUDGE (CLAY

MANAGEMENT TRAINING CORPORATION : OHIO CORUPT

State of ohio in re, : PRACTICES ACT;

Ohio Department of Rehabilitations and Corrections : DISCRIMINATION

James Craig; Deputy Warden : RACIAL PROFILING
_ Anita Edmonstone; Case Manager : AND TARGETING;

Stephen Bright; Sgt. JURY DEMAND;

L. Jones; Unit Manager : ADA violations;

Defendant(s), Tom Watson, Warden, c/o housework : Retaliation;

SUDGE JAMES G. CARI

On 5-19-22 | Alfred a. Johnson SR. heard a disciplinary ticket by Sgt. Bright in his office .| ask to
have my ticket heard by a more experienced ranking. He had made several bad decisions before
on placement in the block and waking me up touching my leg for a urine test. On this day |
asked this Sgt. for a review of the camera , to show impeaching exculpatory evidence .| was
denied, | explained that the ticket did not show a violation to constitute a sanction and it being
my first. He gave me 30 days commissary restriction without me abusing the right to
commissary see rule 5120-9-08[I-7],my first sanction and also 30 day food box restriction. Sgt.
Bright violated my rights to due process rights when he did not allow exculpatory evidence
review under 5120-9-08[h].It continued when he did not honor my request to send it to R.1.B.
and also when he heard my ticket on 5-19-22,sanction was for 30 days, he did take away my
rights to appeal. He started it on 5-25-22 , he did not have any reason for delay as in Barker v.
Wingo.

My sanction ends on 6-25-22, when R.1.B. hears a ticket one is credited for pre-detention time
served and they asses time accordingly. They neverstart a sanction days after hearing the
ticket. They are the same function in disciplinary sanctions. He caused me to miss out on
commissary on 6-21-22, he did cause intentional emotional distress, he was negligent in his
duties. He did violate 5120-9-07, without having a prior sanction to justify delay there is a true
violation of due process. In constrast r.i.b. they can review video footage with this | could of
proved my innocence. Anita Edmonstone is a white female, and Sgt. Grey is a black man and
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was acting as a unit manager also. Sgt. Bright did target me and racial profile me to hurt me and
my mind and body. He did conspire with Anita Edmonstone to do this. Sgt . Grey and myself did
confer on the situation when it happened there was nothing made of the situation until she

contacted Set . Bright.

He did honor her feelings and his own because the ticket clearly does not show allegations. He
became bias and prejudice in his decision, | Also have a habeas corpus in the courts. lama
totally innocent person and | asserted my rights to the warden Tom Watson and some staff
members are in retaliation. The 1st amendment and the 14th amendment and equel
protection, 5° amendment are violated. When | asked ms. Edmonstone for her to retrieve my
records, she said they don’t do that. This is part of odrc and due process is allowed throughout
the prison system. For her to tell me they do not participate in helping inmates apply their due
process rights, will be infringing on my rights. It is clarified by her in the body of the ticket, see
ODRC policies. Public records are free and accessable to everyone | don’t have family and
friends. Sgt. Bright and ms. Edmonstone are directly involved for racial profiling and conspiracy,
also targeting .

Deputy warden James Craig, are guilty of failure to train and supervise these workers. And L.
Jones unit manager are indirect. | asked ms. L. Jones , to fix the problem she has the power and
ability to do just that .she stated you just got to wait till the 25 of June, when it clearly
showed by the date that my time was up for sanction. The main focole point of this motion is,
the state entities purposely conspired against me to hurt me and take away my equal liberty to
live. } am a totally innocent person, this is one of the reasons for the targeting. Case managers,
are exactly what the title states she manages all inmate cases. Furthermore, she states | said
your nothing; is wrong. | am a paralegal and | explained my degree is better than yours, this is
after she said | have been here for 12yrs. | just enlightened her on my legal experience. She left
out the statement that triggered my response, she just felt like nothing. They did deprive me of
the opportunity to have soap , toothpaste, toiletries. Also my food, | am allergic to some state
foods. They did deprive me of phone time, links time to use for my tablet for outside
communications. They did purposely discriminate against me. There is no disrespect to charge
on this ticket, its either a fact or opinion; or it is both. But it is not disrespect | never said it. The
facts of of this case are undisputable, there is clear and convincing evidence. Cause of these
deprivations of my constitutional rights, the effect is my intentional emotion distress; and
prejudicies.

Sgt. Bright is also white, for the record. | am suing for intentional emotional distress, negligent
of duties, failure to train and supervise, discrimination, fiduciary duties, aid and abetting, | am
requesting compensation and punitive damages in this lawsuit. They did violate 5120-9-08 [I-8]
[h} {d] [17] and did also violate 5120-9-07[g3] [d] [e] [f5] [c] . In the body of the ticket she states
the DW, which is deputy warden. His nameis James Craig , he is responsible for this action.
They all were deliberately indifference in their actions ,that these individuals established. They —
were set for one goal, and that was to see me without to go hungry; and to disturb my mental
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health. They did violate my ADA tittle 2, | have been on the mental health case load within the
institution and in society. Again | am wrongfully incarcerated and you can see exhibit #3 for
that. The habeas corpus was filed in the common pleas of Marion Ohio, IT IS STILL PENDING.
With all these constitutional errors the courts shall see the depravations of policy and federal
constitutional rights. On several occasions | did hear and several others, hear institutional
radios call my name both male and females. We did hear my name ALFRED JOHNSON, HEY
ALFRED! Being called, which did deprive me of sleeping and concentrating at all. See exhibits.
They meant to mentally disturb me, c/o housework who is a white male , did delay me to
medical when called; on 6-27-22. Told me to wait till chow called which isn’t policy, | am on
chronic care for blood pressure meds, which are on order; totally out of them. He does not
know my medical needs. And for optometrist, please access medical records for n.c.c.i. and
odrc. This is privately owned by MTC, and | have implemented them as the people who hired
these individuals. Citing; Shorter v. ODRC p-#14-#18, Thaddeus-x v. Blatter.

| am suing for attorney fees and | am a paralegal, at 100S a hour; 7hrs. a day for 30 days for
21,0005, | am suing for compensation and punitive damages. And all are sued in their individual
capacities and title.

CERTIFICATE OF SERVICE
| do hereby assert that a true and correct copy has been sent to
Warden Tom Watson, and all parties within on june 29,2022.
p.o. box 1812 Marion, ohio 43301. And MANAGEMENT TRAINING CORPORATION
500 marketplace dr. ste.100 CENTERVILLE, UTAH. 84104.

ROSE M WEST
Notary Public
State of Ohio

y Comm. Expires

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ALFRED JOHNSON SR.
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